 

 

AO 440 (R¢:v. 06/12) Summons in a Civii Aciion (Puga 2) _
Civii Action No. 2:'18»Gv-00187 :

PROOI\` OF SERVICE

{'This section simqu not be filed with the court unless required by Fed. R. Cl'v. P. 4 (!))

This Summ(}ns fur (immc ofindivi'dua.' and citie. §fa»'iy) ROBERT HALTERMAN
was received by me on (dare) February 2. 2018

 

 

2 C bell Road
-I personally served the summons on the individual at {jomce) 33 amp
Ridgeviile. South Caroiina 29472 on fda,‘_,) FEb,-ual-y 3, 2013

 

;0r

 

 

I‘_'l I left the summons at the individual’s residence or usual place of abode with (na:ne)

, a person of suitable age and discretion who resides there,
, and mailed a copy to the individual‘s last known ad dress; or

 

on (d¢¢ie)

 

“ mi served the summons on name efindividua!)

 

 

 

 

, Who is
designated by law to accept service of process on beha.ii`ot`(m¢me afoi;gm:izarimy
__ n 011 (dr:te) ; OI'
ij I returned the Summons imexecuted because ; or
L-_l Oth€I' (specf[y):
My fees are iii i`or travel and $ for services, fur a total of $ g_gg

I declare under penale of perjury that this ini`c>imarion is true

nat¢; Febm_ary 3, 2018 C_/

 

 

.S'erv§¢)i.(signafure
CLAYTON STACY

 

Prin.red name and rifle

P.O. Box 363. Summer'viile, SC 2948/4

 

 

Servei' 's address

Addiiiehai information regarding attempted service, etc:

